                            UNITED STATES DISTRICT COURT
                                                   for the
                                       EASTERN DISTRICT OF WISCONSIN

In the Matter of the Search of
                                                                Case Number:         12:- Y'Y\. ,..rz Q~
A USPS Priority Mail Express parcel with tracking number
EE226022009US addressed to "Eddy Alcazar, 3228 Janku                                                 U._S. District Court
Ct, San Jose, CA 95127" that bears a return address of                                               Wisconsin Eastern
"616 Mary Ann Ave, Stevens Point, WI 54481, S.B."

                          APPLICATION & AFFIDAVIT FOR SEARCH WARRA                               J     OCT 1 9 2018
                                                                                                             FILED
                                                                                                  Ste hen C. Dries, Clerk
                                                                                                                         J
                                                                                                                         -


        I, Matt Schmitz, a federal law enforcement officer, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

        A USPS Priority Mail Express parcel with tracking number EE226022009US addressed to "Eddy Alcazar,
        3228 Janku Ct, San Jose, CA 95127" that bears a return address of"616 Mary Ann Ave, Stevens Point, WI
        54481, S.B."

currently located in the Eastern District of Wisconsin there is now concealed: Please see attached affidavit, which
is hereby incorporated by reference.

        The basis for the search warrant under Fed. R. Crim. P. 41( c) is which is   (check one or more):

                ./ evidence of a crime;
                '~'contraband, fruits of a crime, or other items illegally possessed;
                o property designed for use, intended for use, or used in committing a crime;
                o a person to be arrested or a person who is unlawfully restrained.
        The search is related to a violation of:

                Title 21, United States Code, Sections 841(a)(1) and 843(b).

        The application is based on these facts:

                ./Continued on the attached sheet, which is incorporated by reference.
                o Delayed notice of_ days (give exact ending date if more than 30 days:                     ) is     requested
                  under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                A~-?~
                                                                Nam~tt Schmitz U.S. Postal Inspector




                                                             ~~·
Sworn to befoce ?and signed in my pcesence.

Date      Oc~            {1_,           .2018
                            I
City and state: Green Bay. Wisconsin                              E HONORABLE JAMES R. SICKEL
                                                                United States Magistrate Judge
                                                                Name & Title ofJudicial Officer




                   Case 1:18-mj-00728-JRS Filed 10/19/18 Page 1 of 5 Document 1
                                                 AFFIDAVIT

Matt Schmitz, United States Postal Inspector, being duly sworn, states the following information was developed

from his personal knowledge and from information furnished to him by other law enforcement agents and

professional contacts:

                                                  I. INTRODUCTION

l.   I have been employed by the United States Postal Inspection Service for approximately 14 years and was

     previously employed as a Police Officer with the City of Middleton (WI) and City of Janesville (WI) Police

     Departments for a total of six years. As part of my duties as a Postal Inspector, I investigate the use of the U.

     S. Mails to illegally send and receive controlled substances and drug trafficking instrumentalities. I have

     participated in investigations which have resulted in the arrest of individuals who have received and distributed

     controlled substances using the U.S. Mail, as well as the seizure of the illegal drugs and proceeds from the sale

     of those illegal drugs. My training and experience includes identifying packages with characteristics indicative

     of criminal activity, namely, the distribution of controlled substances.



                                         II. PARCEL TO BE SEARCHED

2.   This affidavit is submitted in support of an application for a search warrant for a 12.5 inch by 3.125 inch by

     15.625 inch Priority Mail Express parcel with tracking number EE226022009US, mailed on October 17, 2018,

     from Stevens Point, WI zip code 54481.         This parcel bears handwritten addressee and return address

     information. The parcel is addressed to "Eddy Alcazar, 3228 Janku Ct, San Jose, CA 95127" and bears a

     return address of "616 Mary Ann Ave, Stevens Point, WI 54481, S.B." The parcel weighs approximately 2

     pounds, 6 ounces, displays postage in the amount of $49.10, and is hereinafter referred to as "SUBJECT

     PARCEL."

                                                III. INVESTIGATION

3.   On October 17, 2018, I reviewed US Postal Service (USPS) records for evidence of Priority Mail Express parcels

     that were destined to be delivered to the Stevens Point, WI area on or about October 17, 2018, and may be

     associated with controlled substance trafficking. As a part of my duties I regularly review USPS mailing




               Case 1:18-mj-00728-JRS Filed 10/19/18 Page 2 of 5 Document 1
                                                        - 2-

records to identifY parcels that may be associated with controlled substance trafficking. These reviews are often

conducted independent of any specific information identifYing a particular address or person as being suspected

of receiving controlled substances or sending controlled substances or the proceeds related to the distribution of

controlled substances. Through my training and investigative experience, I have learned that parcels containing

controlled substances, controlled substance paraphernalia, or proceeds related to the sale of controlled substances

generally exhibit characteristics that could include:

   a.      The article is contained in a box, flat cardboard mailer, or Tyvek envelope;

   b.      The article bears a handwritten label;

   c.      The handwritten label on the article does not contain a business account number; and

   d.      The article originated from an area that, based on past experience is a known origination point for

           controlled substances and is destined for an area that, based on past experience, is a known

           destination point for controlled substances in the mail; or the reverse: the article originated from an

           area that, based on past experience, is a known origination point for proceeds from the sale of

           controlled substances, and is destined for an area that, based on past experience, is a known

           destination point for controlled substance proceeds.

   e.      The article weighs one or more pounds or is a weight that is consistent with the parcel containing

           items other than papers.

Parcels found to meet these characteristics are scrutinized by Postal Inspectors through further investigation,

which could include address and name verifications and a trained controlled substance-detecting canine

examination. During this review I located a Priority Mail Express Mail parcel with tracking number

EE254569011US that had been mailed from San Jose, CA on October 16,2018, at approximately 12:33 PM,

weighed approximately 1 pound, 13 ounces, and was addressed to 616 Mary Ann Ave, Stevens Point, WI 54481.

I also queried USPS records for evidence of Priority Mail Express parcels that had been mailed from Stevens

Point, WI on October 17, 2018, and found Priority Mail Express parcel EE22602009US (SUBJECT PARCEL)

was mailed at approximately 8:27 AM from Stevens Point, WI and destined for delivery to 3228 Janku Ct, San

Jose, CA 95127. USPS records showed Priority Mail Express parcel EE22602009US weighed approximately 2

          Case 1:18-mj-00728-JRS Filed 10/19/18 Page 3 of 5 Document 1
                                                         -3-

     pounds, 6 ounces. I contacted the Stevens Point Post Office and learned the return address written on Priority

     Mail Express parcel EE22602009US was, 616 Mary Ann Ave, Stevens Point, WI 54481, S.B. Based upon my

     training and investigative experience I have learned that individuals receiving controlled substances through the

     US Mail commonly use the US Mail to send US Currency that is used to purchase controlled substances.

     Specifically, when individuals mail US Currency for the purpose of purchasing controlled substances the

     currency is commonly mailed to the same geographical area from which they are receiving controlled

     substances. Based upon this information I directed the Stevens Point Post Office to send the SUBJECT

     PARCEL to me at the U.S. Postal Inspection Service office in Oneida, WI for further investigation.



4.   On October 18,2018, I learned from the Stevens Point Post Office that the Priority Mail Express parcel mailed

     from San Jose, CA to Stevens Point, WI with tracking number EE2545690 11 US was addressed to "616 Mary

     Ann Ave, Stevens Point WI 54481, Attn: S.B." and displayed a return address of"Vince Margone, 2097

     Amberwood Ln, San Jose, CA 95132." I queried the CLEAR law enforcement database for information on this

     parcel's return address and learned no one with the last name of Margone was known to be associated with 2097

     Amberwood Ln in San Jose, CA. Further, CLEAR records showed no one with the name Vince Margone was

     known to be associated with any address in California. I have learned from my training and investigative

     experience that individuals sending controlled substances through the U.S. Mail may use a fictitious return

     address name in an attempt to avoid identification by law enforcement.



5.   On October 18, 2018, I contacted Wisconsin State Trooper and K-9 Officer loan A Trofin who agreed to assist

     in presenting the SUBJECT PARCEL to a dog sniff. Trooper Trofin is a trained handler of a certified drug

     detection dog named "Cirus." Trooper Trofin explained that Cirus is trained in detecting the presence of

     marijuana, cocaine, heroin, and methamphetamine, and was last certified in detecting controlled substances in

     May of2018. Consistent with Trooper Trofin's training, experience, and direction, I placed the SUBJECT

     PARCEL behind a metal file cabinet on the workroom floor of the Oneida, WI Post Office. This workroom

     floor contained several pieces of office equipment and Trooper Trofin did not see where I placed SUBJECT

               Case 1:18-mj-00728-JRS Filed 10/19/18 Page 4 of 5 Document 1
                                                            - 4-

     PARCEL. Cirus examined the workroom floor and Trooper Trofin said Cirus alerted to the odor of controlled

     substances in a box behind a file cabinet. I identified the box Trooper Trofin was referring to as the SUBJECT

     PARCEL. Cirus did not alert to the odor of controlled substances in any other area. Following the dog sniffl

     retained custody of the SUBJECT PARCEL and currently have it secured at the Postal Inspection Service office

     in Oneida, WI, in the Eastern District of Wisconsin.



6.   Postal Regulation Sec. 274.31 of the United States Postal Service Administrative Support Manual states that

     no one may detain mail sealed against inspection, except under the following condition: A Postal Inspector

     acting diligently and without avoidable delay, upon reasonable suspicion, for a brief period of time, to assemble

     evidence sufficient to satisfy the probable cause requirement for a search warrant issued by a Federal Court.



7.   Based upon the information contained in this affidavit I believe the Priority Mail Express parcel with tracking

     number EE254569011US contains controlled substances being mailed from San Jose, CA, and the SUBJECT

     PARCEL contains proceeds related to the sale and/or distribution of controlled substances. For these reasons,

     there is probable cause to believe the SUBJECT PARCEL contains controlled substances, controlled substance

     paraphernalia, and/or proceeds or payment related to the sale of controlled substances. I am seeking the

     issuance of a warrant to search this parcel, and the contents contained therein, for contraband and evidence of

     a crime, namely, possession and possession with the intent to distribute controlled substances, and use of the

     mails to commit a controlled substance felony, in violation of Title 21,

     United States Code, Sections 84l(a)(1), and 843(b).




     Subscribed and sworn to before me this     l1      day of October, 2018.



     The H   rable James R ickel
     Unit States Magistrate Judge       ~
     £,... ~~Case
              ~~~Au:J td WtSC""s-',J Filed 10/19/18 Page 5 of 5 Document 1
                  1:18-mj-00728-JRS
